      Case 21-10760        Doc 13Filed 10/01/21 Entered 10/01/21 09:41:26                 Desc Main
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


IN RE:                                                )      No. 21-10760
                                                      )
         Noel Hermosillo                              )      Judge Barnes
                                                      )
         Debtor(s).                                   )      Chapter 13
                                                      )


                                      NOTICE OF MOTION

TO:      Noel Hermosillo, 9434 S Sayre Ave Oak Lawn, IL 60453
         Marilyn Marshall, 224 S Michigan Avenue, 8th Floor, Chicago, IL 60604 (ECF notice)

      PLEASE TAKE NOTICE that on November 4, 2021, at 2:30 p.m., I will appear before the
Honorable Barnes, or any judge sitting in that judge’s place, and present ATTORNEY'S
APPLICATION FOR CHAPTER 13 COMPENSATION UNDER THE COURT-APPROVED
RETENTION AGREEMENT, a copy of which is attached.

        This motion will be presented and heard electronically using Zoom for Government. No
personal appearance in court is necessary or permitted. To appear and be heard on the motion, you must
do the following:
        To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting ID and
password.
        To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828- 7666.
Then enter the meeting ID and password.
        Meeting ID and password. The meeting ID for this hearing is 161 329 5276 and the password is
433658. The meeting ID and password can also be found on the judge’s page on the court’s web site.

        If you object to this motion and want it called on the presentment date above, you must file a
Notice of Objection no later than two (2) business days before that date. If a Notice of Objection is
timely filed, the motion will be called on the presentment date. If no Notice of Objection is timely filed,
the court may grant the motion in advance without a hearing.

/s/ Edwin L Feld
Attorney for Debtor
Edwin L Feld & Associates, LLC
1 N LaSalle Street, Suite 1225
Chicago Illinois 60602
(312) 263-2100

                                     CERTIFICATE OF SERVICE

I, Edwin L Feld, certify that I served a copy of this notice and the attached motion on each entity shown
on the attached list at the address shown by United States Mail or by method indicated on the list on
October 1, 2021.

/s/ Edwin L Feld
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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF ILLINOIS

IN RE:                                                )       No. 21-10760
                                                      )
         Noel Hermosillo                              )       Judge Barnes
                                                      )
         Debtor(s).                                   )       Chapter 13
                                                      )


          ATTORNEY'S APPLICATION FOR CHAPTER 13 COMPENSATION UNDER
                 THE COURT-APPROVED RETENTION AGREEMENT
                      (Use for cases filed on or after April 20, 2015)

The undersigned attorney seeks compensation pursuant to 11 U.S.C. § 330(a)(4)(B) and the Court-
Approved Retention Agreement executed by the debtor(s) and the attorney, for representing the
interests of the debtor(s)in this case.

         Use of Court-Approved Retention Agreement:

         The attorney and the debtor(s) have entered into the Court-Approved Retention Agreement.

         Attorney Certification:

         The attorney hereby certifies that:
         1.     All disclosures required by General Order No. 11-2 have been made.

         2. The attorney and the debtor(s) have either:

                (i) not entered into any other agreements that provide for the attorney to receive:

                        a.      any kind of compensation, reimbursement, or other payment, or

                        b.      any form of, or security for, compensation, reimbursement, or other
                                payment that varies from the Court-Approved Retention Agreement; or

                (ii) have specifically discussed and understand that:

                a.      the Bankruptcy Code may require a debtor's attorney to provide the debtor with
                        certain documents and agreements at the start of the representation;

                b.      the terms of the Court-Approved Retention Agreement take the place of any
                        conflicting provision in an earlier agreement;

                c.      the Court-Approved Retention Agreement cannot be modified in any way by
                        other agreements; and

                d.      any provision of another agreement between the debtor and the attorney that
                        conflicts with the Court-Approved Retention Agreement is void.
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Compensation sought for services in this case pursuant to the Court-Approved Retention
Agreement:

       $4500 flat fee for services through case closing

Reimbursement sought for expenses in this case:

       $28    for other expenses incurred in connection with the case and paid by the attorney with
              the attorney's funds (for credit report)

       $0     for filing fee paid by the attorney with the attorney's funds

       $28    Total reimbursement requested for expenses.

Funds previously paid to the attorney by or on behalf of the debtor(s) in the year before filing this
case and not reflected in or related to the Court-Approved Retention Agreement:

       ☒ None

       A total of $0


Date of Application October 1, 2021                  Attorney Signature /s/ Edwin L Feld




                                                                              Local Bankruptcy Form 23-1
